          Case 2:20-cv-09058-SVW-E Document 2 Filed 09/30/20 Page 1 of 1 Page ID #:24
  NAME,ADDRESS,AND TELEPHONE NUMBER OF ATTORNEYS)
  OR OF PARTY APPEARING IN PRO PER


  MARK G.SAUNDERS
  6603 S. ST. ANDREWS.PL.
  LOS ANGELES,CA 90047                                                                              r




  nrToxrrEY~s~ Fou: DEFENDANT'S IN PRO PER
        _-
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
U.S.BANK NATIONAL ASSOCIATION,AS                                             CASE NUMBER:

SUCCESOR TRUSTEE TO BANK OF AMERICA
                                                                             ~:ZO C V~ O~SrS V `~v — ~SX
                                                              P~a~~;t~(S>,
                                     ~.
MARK G.SAUNDERS;and Does 1 through 25,
                                                                                            CERTIFICATION AND NOTICE
                                                                                              OF INTERESTED PARTIES
                                                             Defendants)                          (Local Rule 7.1-1~


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                              MARK G.SALTNDERS
or party appearing in pro per, certifies t at the o owing listed party(or parties) may ave a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                 PARTY                                                             CONNECTION /INTEREST
U.S.BANK NATIONAL ASSOCIATION,AS SUCCESOR                                    PLAINTIFF
TRUSTEE TO BANK OF AMERICA




MARK G.SAUNDERS                                                              DEFENDANT




         September 29,2020                                  ,~~~~~ ~~
         Date                                              Signature



                                                           Attorney of record for (or name of parry appearing in pro per):

                                                           MARK G.SAUNDERS


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
